Gmail - RE: Public corruption                                              Page 1 of 1
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                                                                                      Carl Merkle <carl.merkle@gmail.com>



 RE: Public corruption
 Rangers <Rangers@dps.texas.gov>                                                                   Thu, Dec 21, 2017 at 2:20 PM
 To: Carl Merkle <carl.merkle@gmail.com>


  Mr. Merkle, please see that attached response letter.



  Thank you,
  Texas Rangers

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                         TEXAS DEPARTMENT OF PUBLIC SAFETY
                             5805 N LAMAR BLVD • BOX 4087 • AUSTIN, TEXAS 78773-0001
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    December 21, 2017

    Dear Mr. Merkle:

    The Texas Rangers are in receipt of your correspondence regarding allegations of “fraud upon the
    court” and violations of Texas Penal Code 31, 32, and 71 against two Texas law firms, a United
    States Federal Bankruptcy Judge, and Capital Crossing. We have reviewed fully the information
    you submitted.

    Based on our review, it appears your allegations concern potential civil or administrative violations.
    Further, the accusations are not against any state officials or officers so the Public Integrity Unit is
    not the proper venue for your complaint. We have determined there was no action that would
    warrant a criminal investigation by the Rangers and we consider the matter to be concluded.

    You may wish to file your complaint with the Federal Bureau of Investigation or with the Federal
    Courts under the Judicial Conduct and Disability Act of 1980.

    Sincerely,
    Texas Rangers
    Public Integrity Unit




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